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IN THE UNITED STATES BANKRUPTCY COURT

IN AND FOR THE DISTRICT OF DELAWARE

New Century TRS Holdings, Inc., )
et al., j :
bebtors, Re: Docket No. 2111
)

ORDER GRANTING RELIEF FROM AUTOMATIC STAY AS TO
561 DOWNING LAKE DRIVE, HIGH SPRINGS, FLORIDA, 32643

ol
AND NOW, TO WIT, this _ HHA day of A.B., 2007, Chase

Homé Finance, LLC formerly known as Chase Manhattan Mortgage

Corporation’s Motion for Relicf from Automatic Stay having been
heard and considered;

IT IS HEREBY ORDERED that the Stay afforded by 11 U.S.C. §362
is hereby terminated for causé so as to permit the Movant and/or
holder of the first mortgage, as recorded in the Public Records in
Book 0923, Page 1345 in Columbia County, State of Florida for 561
Downing Lake Drive, High Springs, Florida, 32643 to enforce its
security interest in the aforesaid real property through
foreclosure proceedings, Sheriff's Sale of the property and any
other legal remedies against the property which may be available
to Chase Home Finance, LLC formerly known as Chase Manhattan
Mortgage Corporation under State law; and

IT IS FURTHER ORDERED that Rule 4001(a) (3) is deemed not
applicable and that Chase Home Finance, LLC formerly known as
Chase Manhattan Mortgage Corporation may immediately enforce and

implement this Order granting relief from the automatic stey.

Dated: Sepiember __, 2007 \, [rr
Wilmington, Delaware AA d

THE HONORABLE KEVIN J.C
UNITED STATES BANKRUP UDGE

